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                             Exhibit 22
       State of California ex. rel. Ven-A-Care of the Florida Keys, Inc. v.
                         Abbott Laboratories, Inc., et al.

            Exhibit to the Declaration of Nicholas N. Paul in Support of
Plaintiffs’ Opposition to Defendants’ Joint Motion for Partial Summary Judgment
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Schondelmeyer, Pharm.D., Ph.D., Steven W. - Vol. I                                  September 15, 2009
                                         Minneapolis, MN

                                                                                           Page 1
                        UNITED STATES DISTRICT COURT

                     FOR THE DISTRICT OF MASSACHUSETTS



       - - - - - - - - - - - - - - x

       IN RE:    PHARMACEUTICAL           )   MDL NO. 1456

       INDUSTRY AVERAGE WHOLESALE         )   Master File No. 01-12257-PBS

       PRICE LITIGATION                   )   Subcategory Case No. 06-11337

       ----------------------------)

       THIS DOCUMENT RELATES TO:          )   Hon. Patti B. Saris

       State of California, ex rel.)

       Ven-A-Care v. Abbott               )   Tuesday, September 15, 2009

       Laboratories, Inc., et al.         )

       - - - - - - - - - - - - - - x          VOLUME I



                    Videotaped deposition of STEPHEN W.

       SCHONDELMEYER, PHARM.D., Ph.D., held at the Grand

       Hotel, 615 2nd Avenue South, Minneapolis,

       Minnesota, commenced at 9:11 a.m., the

       proceedings being recorded stenographically by

       Dawn Workman Bounds, Certified Shorthand Reporter

       and Notary Public of the State of Minnesota, and

       transcribed under her direction.




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                                                                                   Page 206
   1
                     Q.        In part, right.
   2
                               And among the published prices, the FUL
   3
           -- they use are published WACs and published
   4
           AWPs, right?
   5
                     A.        Are you talking federal or the
   6
           California --
   7
                     Q.        Federal.              The federal.
   8
                     A.        I believe the feds use both the WACs
   9
           and AWPs when they exist.
 10
                     Q.        So if a FUL is set on a drug for
 11
           reimbursement in California, no matter how high
 12
           Mylan or Dey or Sandoz raises its AWP on that
 13
           drug with the FUL, it is not going to affect how
 14
           much California reimburses on that transaction,
 15
           if we assume that each of those defendants report
 16
           a WAC that's lower than the AWP, correct?
 17
                     A.        I would have to think about that and
 18
           think through the circumstances.
 19
                               It's conceivable if their AWP was lower
 20
           than what the federal upper limit was, that the
 21
           AWP could determine the payment, rather than the
 22
           federal upper limit.

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